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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                    Plaintiff,

       v.

DOROTHY FINK, in her official capacity, and
U.S. DEPARTMENT OF HEALTH AND HUMAN
                                                    Civil Action No. 1:24-cv-3188
SERVICES,

and

DIANA ESPINOSA, in her official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                    Defendants.


                        [PROPOSED] ORDER GRANTING
                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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       Upon consideration of the parties’ summary judgment papers and the Administrative

Record, the Court ORDERS that the motion for summary judgment of Plaintiff Johnson &

Johnson Health Care Services Inc. (“J&J”) is GRANTED. The Court further:

       1.      DECLARES that J&J may offer reduced pricing to “covered entities” eligible for

the federal 340B prescription drug pricing program using rebates rather than discounts;

       2.      DECLARES that J&J may adopt a rebate model for offering 340B pricing to

covered entities without prior approval from the Health Resources and Services Administration

(“HRSA”) or the U.S. Secretary of Health and Human Services;

       3.      DECLARES that HRSA’s 2024 rejection of J&J’s plan to adopt a rebate model in

HRSA’s August 14, 2024, September 17, 2024, and September 27, 2024 letters was arbitrary,

capricious, and otherwise not in accordance with law;

       4.      VACATES HRSA’s August 14, 2024, September 17, 2024, and September 27,

2024 letters announcing its rejection of J&J’s rebate model plan; and

       5.      VACATES the policy pronouncement on HRSA’s website stating that Secretarial

approval is required for manufacturers to implement 340B rebate models.

       IT IS SO ORDERED.



       Dated: ________________________              ________________________________
                                                    HON. RUDOLPH CONTRERAS
                                                    UNITED STATES DISTRICT JUDGE
